       Case 1:07-cv-00770-WMS-JJM Document 1 Filed 11/15/07 Page 1 of 7




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_________________________________________

SUSAN MOORE,

              Plaintiff,
       v.                                             Civil Action No._____________

FIRSTSOURCE ADVANTAGE, LLC,

            Defendant.
_________________________________________



                                     I. INTRODUCTION

1. This is an action for actual and statutory damages brought by an individual consumer for
   Defendant’s violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq.
   (hereinafter "FDCPA"), and the Telephone Consumer Protection Act of 1991 (hereinafter
   referred to as the “TCPA”).

                                     II. JURISDICTION AND VENUE

2. Subject matter jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), 28 U.S.C.§ 1331,
   and/or 28 U.S.C.§ 1337.

3. That Plaintiff’s cause of action under the TCPA is predicated upon the same facts and
   circumstances that give rise to her federal cause of action. As such, this Court has
   supplemental jurisdiction over Plaintiff’s TCPA causes of action pursuant 28 U.S.C. §1367.



                                     II. PARTIES

4. Plaintiff Susan Moore is a natural person residing in City of Buffalo, County of Erie and
   State of New York, and is a consumer as that term is defined by 15 U.S.C.§1692a(3).

5. Defendant Firstsource Advantage, LLC is a New York limited liability corporation organized
   under the laws of the State of New York, and is a debt collector as that term is defined by 15
   U.S.C.§1692a(6).

6. Defendant is also known as Account Solutions Group, LLC and ASG.




                                                                                                1
       Case 1:07-cv-00770-WMS-JJM Document 1 Filed 11/15/07 Page 2 of 7




7. That at all times relevant herein, Plaintiff owned, operated and/or controlled “customer
   premises equipment” as defined by the TCPA, 47 U.S.C.§153(14), that originated, routed,
   and/or terminated telecommunications.

8. That at all times relevant herein, Plaintiff was and is a “person” as defined by the TCPA, 47
   U.S.C.§153(32).

9. That Defendant, at all times relevant herein, owned, operated and/or controlled “customer
   premises equipment” as defined by the TCPA, 47 U.S.C.§153(14), that originated, routed,
   and/or terminated telecommunications.

10. That at all times relevant herein, Defendant has used the United States mail service,
    telephone, telegram and other instrumentalities of interstate and intrastate commerce to
    attempt to collect consumer debt allegedly owed to another.

11. That Defendant, at all times relevant herein, engaged in “interstate communications” as that
    term is defined by the TCPA, 47 U.S.C.§153(22).

12. That Defendant, at all times relevant herein, engaged in “telecommunications” as defined by
    the TCPA, 47 U.S.C.§153(43).

13. That Defendant, at all times relevant herein, used, controlled and/or operated “wire
    communications” as defined by the TCPA, 47 U.S.C.§153(52), that existed as
    instrumentalities of interstate and intrastate commerce.

14. That Defendant, at all relevant times herein, used, controlled and/or operated “automatic
    telephone dialing systems” as defined by the TCPA, 47 U.S.C.§227(a)(1) and 47 C.F.R.
    64.1200(f)(1).

15. The acts of the Defendant alleged hereinafter were performed by its employees acting within
    the scope of their actual or apparent authority.


                                 IV. FACTUAL ALLEGATIONS

16. That the Plaintiff’s daughter, Mia Moore, incurred a debt for, upon information and belief,
    cable services. Said debt will hereinafter be referred to as “the subject debt”.

17. That upon information and belief, the subject debt was an obligation to pay money arising
    out of a transaction in which the money or services which were the subject of the transaction
    were primarily for personal, family or household purposes.

18. That Plaintiff has never been legally liable to pay the subject debt.

19. That the subject debt is a “debt” as that term is defined by 15 U.S.C.§1692a(5).




                                                                                               2
       Case 1:07-cv-00770-WMS-JJM Document 1 Filed 11/15/07 Page 3 of 7




20. That after Mia Moore defaulted on the subject debt, the Defendant was employed to attempt
    to collect the subject debt.

21. That Defendant began placing telephone calls to Plaintiff on her cellular telephone to collect
    the subject debt of Mia Moore in approximately June of 2007.

22. That in June of 2007, Plaintiff received approximately 25 telephone calls from the
    Defendant.

23. That in June of 2007 and after the telephone calls in paragraph 22, Plaintiff spoke to
    Defendant, informed Defendant that they had the wrong telephone number, and asked that
    Defendant not call her again.

24. That after Plaintiff’s request that they place no further telephone calls to her, Defendant
    placed approximately 90 telephone calls to her cellular telephone during the months of June
    of 2007 through September of 2007 in which they left a message on Plaintiff’s voicemail
    using a prerecorded and/or artificial voice.

25. That on or about September 20, 2007, Plaintiff spoke to Defendant. At that time, Defendant
    told Plaintiff that they believed that she was Mia Moore and that she, the Plaintiff, owed the
    subject debt. The Defendant then started singing “Mia, Mia, Mia, Mia” and told Plaintiff she
    had “a bad attitude”. Plaintiff then asked to speak to a manager. Plaintiff was put on hold for
    30 minutes and nobody answered.

26. That on or about September 20, 2007, Plaintiff again called Defendant and asked to speak to
    a manager. Plaintiff was again put on hold and nobody answered.

27. That as a result of the foregoing, Plaintiff became nervous and upset, and suffered from
    emotional distress.

                                       V. COUNT ONE
                               (Fair Debt Collection Practices Act)

28. Plaintiff repeats, realleges and incorporates by reference paragraphs 1 through 27 above.

29. That Defendant violated multiple provisions of the FDCPA, including but not limited to the
    following:

   A. Defendant violated 15 U.S.C.§1692c(a)(1) and 15 U.S.C.§1692d by communicating with
      Plaintiff by telephone after her specific request that they not communicate with her in that
      manner.

   B. Defendant violated 15 U.S.C.§1692e and 15 U.S.C.§1692e(2)(A) by attempting to collect
      a debt that Plaintiff did not owe, and by falsely representing to her that she owed it.




                                                                                                 3
       Case 1:07-cv-00770-WMS-JJM Document 1 Filed 11/15/07 Page 4 of 7




   C. Defendant violated 15 U.S.C.§1692f, 15 U.S.C.§1692f(1), and 15 U.S.C.§1692f(5) by
      repeatedly calling Plaintiff’s cellular phone to collect a debt the Plaintiff did not owe.

   D. That the telephone calls made by Defendant described in this complaint were made with
      the intent of annoying abusing, harassing, oppressing Plaintiff in violation of 15
      U.S.C.§1692d and 15 U.S.C.§1692d(5).

30. That as a result of the Defendant’s violations of the FDCPA, the Plaintiff suffered actual
    damages, and emotional distress, and is also entitled to an award of statutory damages, costs
    and attorneys’ fees.

                                       VII. COUNT TWO
                           (Telephone Consumer Protection Act of 1991
                                  and 47 C.F.R.14.1200, et seq.)

31. Plaintiff repeats, realleges and incorporates by reference the preceding and succeeding
    paragraphs in this complaint as if each of them was reprinted herein below.

32. The Defendant at all times material and relevant hereto, unfairly, unlawfully, intentionally,
    deceptively and/or fraudulently violated the TCPA, 47 U.S.C.§227, et seq. and 47
    C.F.R.14.1200, et seq. and TCPA, 47 U.S.C.§227(b)(1)(A)(iii) by initiating telephone calls to
    Plaintiff’s cellular telephone using an automatic telephone dialing system and/or used an
    artificial and/or prerecorded voice to deliver messages without the prior express consent of
    the Plaintiff.

33. The acts and/or omissions of Defendant at all times material and relevant hereto, as described
    in this complaint, were done unfairly, unlawfully, intentionally, deceptively and fraudulently
    with the express and sole purpose of unfairly, unlawfully, intentionally, deceptively and
    fraudulently coercing Plaintiff to pay the alleged debt and to harass her.

34. The acts and/or omissions of the Defendant at all times material and relevant hereto, as
    described in this complaint, were done unfairly, unlawfully, intentionally, deceptively and
    fraudulently and absent bona fide error, lawful right, legal defense, legal justification or legal
    excuse.

35. The acts and/or omissions of the Defendant at all times material and relevant hereto, as
    described in this complaint, were not acted or omitted pursuant to 47 C.F.R.§64.1200(f)(2).

36. As a causally-direct and legally proximate result of the above violations of the TCPA, the
    Defendant at all times material and relevant hereto, as described in this complaint, caused the
    Plaintiff to sustain damages as a result of their innumerable telephone calls that harassed,
    annoyed and abused Plaintiff, and disturbed her peace and tranquility at home and elsewhere.

37. As a causally-direct and legally proximate result of the above violations of the TCPA, the
    Defendant at all times material and relevant hereto, as described in this complaint, caused the
    Plaintiff to sustain damages and experience severe emotional distress.



                                                                                                    4
       Case 1:07-cv-00770-WMS-JJM Document 1 Filed 11/15/07 Page 5 of 7




38. As a causally-direct and legally proximate result of the above violations of the TCPA, the
    Defendant at all times material and relevant hereto, as described in this complaint, is liable to
    actual damages, statutory damages, treble damages, and costs and attorneys fees.

39. Plaintiff received approximately 90 telephone calls from an automatic telephone dialing
    system and/or an artificial and/or prerecorded voice entitling Plaintiff to Five Hundred
    Dollars and No Cents ($500.00) for each artificial and/or prerecorded telephone call pursuant
    to the TCPA, 47 U.S.C.§227(d)(3)(B), from the defendant in the amount of Forty-Five
    Thousand Dollars and No Cents ($45,000.00).

40. The Defendant caused said telephone calls of an artificial and/or prerecorded nature to be
    placed willfully and/or knowingly entitling Plaintiff to a maximum of treble damages in the
    amount of One Hundred Thirty Five Thousand Dollars and No Cents ($135,000.00). pursuant
    to TCPA, 47 U.S.C.§227(d)(3).


      WHEREFORE, Plaintiff respectfully requests that judgment be entered against the
Defendants for:

       (a) Actual damages pursuant to FDCPA 15 U.S.C. §1692k(a)(1);

       (b) Statutory damages pursuant to 15 U.S.C. § 1692k(a)(2)(A) and TCPA 47 U.S.C.
           §227(b)(3);

       (c) Costs, disbursements and reasonable attorney's fees pursuant to 15 U.S.C. § 1692k;

       (d) For such other and further relief as may be just and proper.


       A JURY TRIAL IS DEMANDED.



Dated: November 14, 2007
                                               /s/ Amanda R. Jordan, Esq._______
                                              BY: Kenneth R. Hiller, Esq.
                                              Amanda R. Jordan, Esq.
                                              Law Office of Kenneth Hiller
                                              Attorneys for the Plaintiff
                                              2001 Niagara Falls Boulevard
                                              Amherst, NY 14228
                                              (716) 564-3288
                                              Email: khiller@kennethhiller.com
                                                     ajordan@kennethhiller.com




                                                                                                   5
Case 1:07-cv-00770-WMS-JJM Document 1 Filed 11/15/07 Page 6 of 7




                                                                   6
       Case 1:07-cv-00770-WMS-JJM Document 1 Filed 11/15/07 Page 7 of 7




       VERIFICATION OF COMPLAINT AND CERTIFICATION BY PLAINTIFF

Susan Moore affirms that the following statements are true and correct under penalties of perjury:

   1. I am the Plaintiff in this civil proceeding.

    2 I have read the above-entitled civil Complaint prepared by our attorney and believe that all
of the facts contained in it are true, to the best of my knowledge, information and belief formed after
reasonable inquiry.

    3. I believe that this civil Complaint is well grounded in fact and warranted by existing law or
by a good faith argument for the extension, modification, or reversal of existing law.

    4. I believe that this civil Complaint is not interposed for any improper purpose, such as to
harass any Defendant, cause unnecessary delay to Defendant, or create a needless increase in the
cost of litigation to Defendant.

   5. I have filed this civil Complaint in good faith and solely for the purposes set forth in it.


Dated: November 5_, 2007                             s/Susan Moore_____
                                                      Susan Moore




                                                                                                     7
